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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:14CR209
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )              TENTATIVE FINDINGS
                                             )
JEFFREY NEGUS,                               )
                                             )
             Defendant.                      )

      The Court has received the Revised Presentence Investigation Report and

Addendum (“PSR”) and the Defendant’s objections (Filing No. 58) which relate to the

determination of the number of victims and the corresponding two-level enhancement. The

government has adopted the PSR (Filing No. 61) and has filed a Notice of Intent to present

Evidence and Testimony (Filing No. 63). The Defendant has also filed a motion for

departure and variance and supporting brief (Filing Nos. 59 and 60).         See Second

Amended Order on Sentencing Schedule, ¶ 6. The Court advises the parties that these

Tentative Findings are issued with the understanding that, pursuant to United States v.

Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

      Accordingly,

      IT IS ORDERED:

      1.     The Defendant’s Objections to the Second Revised Presentence Investigation

Report (Filing No. 58) will be heard at the sentencing hearing;

      2.     The Court intends to adopt the PSR in all other respects;

      3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are
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required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final;

       5.     The Court takes note of the government’s Notice of Intent to present

Evidence and Testimony (Filing No. 63) and orders that any exhibit and witness lists and

any exhibits it intends to offer at the time of sentencing be provided to the Court and

counsel for the parties on or before March 29, 2016;

       6.     The Defendant’s Motion for Downward Departure or Variance (Filing No. 59)

will be heard at sentencing;

       7.     The sentencing hearing in this case for both Jeffrey S. Negus and

codefendant Gregory Negus has been scheduled for Monday, April 4, 2016, beginning at

2:00 p.m.    The parties are to immediately advise the Court if it is anticipated that the

sentencing hearing will last more than 2 (two) hours; and

       8.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 9th day of March, 2016.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge



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